Case 1:04-cv-Oll48-.]DT-STA Document 37 Filed 05/03/05 Page 1 of 6 /(@elD'ZS
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IN THE UNITED sTATEs DISTRICT COURT, %~J, \ app
FOR THE WESTERN DISTRICT OF TENNESS<E§~; @6, '»<
EASTERN DIvIsIoN “ '<>C~f@//\ "03
/2/./:;0/6?:/1/0
TERRY ABELS, as Next Friend and "`/V '

Guardian Ad Litem for JERRY HUNT, )
)
Plaintiff, )
)

VS. ) NO. 1-04-1 l48-T-An
)
GENE INDUSTRIES, INC., DUNCAN )
ELECTRIC COMPANY, AND RENTAL )
SERVICES CORPORATION, )
)
Defendants. )

 

` ORDER DENYING PLAINTIFF’S MOTION TO STRIKE

 

Plaintiff brought this action alleging negligence and strict liability when J er1y Hunt
was severely injured While using a man lift that was designed, manufactured, and distributed
by Defendant Genie Industries, Inc., and rented, leased, or otherwise distributed by
Defendant Rental Services Corporation (“RSC”). Plaintiff files this motion to strike the
seventh defense of RSC’s answer to Plaintiff’s amended complaint, which states:

Pleading in the alternative, RSC avers that a cause in fact of the accident of

July 7, 2003, was the negligence of Insulation Systems, lnc., of 165 Mt.

Pleasant Road, Collierville, Tennessee 38017 in failing to properly supervise

its employee, Jerry Hunt, by allowing him unauthorized access to the subject

lift and/or allowing him to use the lift without proper training and supervision.
Plaintiff alleges that RSC seeks to reduce its liability under the doctrine of comparative fault

by asserting that the negligent actions of non-party Insulations Systems, Inc. (“IS”) caused

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or contributed to the accident and Plaintiff’ s injuries. Plaintiff further argues that pursuant
to Tenn. Code Ann. § 50-6-108(a) and Mgs_\/_._M, 914 S.W.2d 79
(Tenn. 1996), the negligence of an employer, a co-employee, and/or a general contractor
cannot be considered to reduce a defendant’s liability. In response to this motion, RSC
argues that it may present evidence that the actions of IS were a cause in fact of Plaintiff’s
injuries

After Mclntge v. Balentine, 833 S.W.2d 52 (Tenn.l992), the Tennessee Suprerne
Court was faced with the issue of whether a non-party against whom the plaintiff could not
legally maintain a cause of action in tort could nonetheless be apportioned a percentage of
fault with the corresponding result of reducing the liability of other responsible defendants
In Ridings v. Ralph M. Parsons Co., 914 S.W.Zd 79 (Tenn. 1996), the court held that “fault
may be attributed only to those persons against whom the plaintiff has a cause of action in
tort.” I_d. at 81. Therefore, since the plaintiffs employer could not be made a party to the
plaintiffs tort action for personal injuries sustained in the course of his scope of
employment, the rationale of Mclntge would not permit fault to be attributed to the
plaintiffs employer. ld_a at 82. The court concluded that the plaintiffs right to recover on
allegations of negligence and strict liability must be determined without reference to the
employer‘s conduct. LJ. at 84.

The Tennessee Suprerne Court clarified the issue of assi gnment of fault to non-parties

in Snyder v. LTG Lufttechnische GmbH, 955 S.W.2d 252 (Tenn. 1997). In Snyder, the

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United States District Court for the Eastern District certified the following question to the
Tennessee Suprelne Court:

Whether products liability defendants in a suit for personal injuries based on

allegations of negligence and strict liability in tort may introduce evidence at

trial that the plaintiffs employer's alteration, change, improper maintenance,

or abnormal use of the defendants' product proximately caused or contributed

to the plaintiffs injuries
ld_. 253. The court determined that a products liability defendant in a suit for personal
injuries based on allegations of negligence and strict liability in tort may introduce relevant
evidence that the employer's alteration, change, improper maintenance, or abnormal use of
the product was the cause in fact of the plaintiffs injuries ida at 255»56. The court held that
the “jury may consider all evidence relevant to the actions of the employer with respect to
the defendants' product in assessing whether the plaintiff has met his burden of establishing
the elements necessary to recover against the defendants However, in making that
determination, the jury may not assess fault against the employer.” I_d.

The jury should be instructed that it may consider the actions of the employer

only in assessing whether the plaintiff has met his burden of establishing the

elements necessary to recover against the defendants Also, the jury should be

instructed that it may not, in making that determination, assess fault against the

employer. Finally, the trial judge should give an instruction that lets the jury

know that the employer's legal responsibility will be determined at a later time
or has already been determined in another forum.

Therefore, based on the holding in Snyder, this court determines that RSC should be

allowed to allege as a defense that the negligence of IS was a cause in fact of Plaintiff’s

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injuries Consequently, Plaintiffs motion to strike is DENIED.

IT IS SO ORDERED.

@/MZ)QWM

.l S D. TODD
TED STATES DISTRICT IUDGE

32 M%vs“

DATE \/

 

May 3, 2005 to the parties listed.

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Honorable .l ames Todd
US DISTRICT COURT

